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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 25, 2019:


       MINUTE entry before the Honorable Harry D. Leinenweber: Motion hearing held.
The Government's motion for protective order [43] is entered and continued to 7/31/19 at
9:45 a.m. Counsel for Defendant Brown is ordered to appear at the 7/31/19 hearing. In the
meantime, the parties are to meet and confer on the terms of a protective order. The
Government's deadline to produce Rule 16 materials is extended to 8/1/19. Regarding
Defendant Kelly's transport to the E.D.N.Y.: because Kelly does not consent to being
arraigned in the Northern District of Illinois on his E.D.N.Y. charges, the Court's earlier
Order [29] stands as−is. The defendants' presence is waived for the 7/31/19 motion
hearing. Mailed notice (maf)




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